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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,            )
                                     )
     Plaintiff,                      )     4:05CR3065
                                     )
     v.                              )
                                     )
TERESA MARIE JONES,                  )       ORDER
                                     )
     Defendant.                      )



     IT IS ORDERED,

     The oral motion of counsel for defendant is granted and,

     The change of plea hearing is continued to October 14, 2005
at 3:30 p.m.

     For this defendant, the time between today’s date and the
hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

     Dated October 6, 2005.


                                   BY THE COURT


                                   s/    David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge
